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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-CV-24100-COOKE/GOODMAN


   DIGNA VINAS,

                    Plaintiff/Counter Defendant,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

               Defendant/Counter Plaintiff.
   ___________________________________/

           THE INDEPENDENT ORDER OF FORESTERS’ MOTION TO DISMISS
         PLAINTIFF’S SECOND AMENDED COMPLAINT WITH INTERLINEATION
                   AND INCORPORATED MEMORANDUM OF LAW

             Defendant, The Independent Order of Foresters (“Foresters”) moves to dismiss Plaintiff
   Digna Vinas’s Second Amended Complaint with Interlineation (Doc. 147; “Second Am. Compl.”)
   pursuant to Article III of the United States Constitution and Rule 12(b)(6) of the Federal Rules of
   Civil Procedure (the “Rule(s)”). 1 In support, Foresters states:
        I.       Introduction
             This is an action that should have ended on April 13 2020, when Foresters paid Plaintiff
   the $92,000 death benefit (the “Death Benefit”) under a life insurance certificate (the “Certificate”)
   naming Plaintiff as the beneficiary, plus accrued interest to compensate Plaintiff for any alleged
   delay in receiving the funds, and agreed to pay reasonable attorney’s fees and recoverable costs.
   At that point, Foresters fulfilled all of its contractual obligations under the Certificate and made
   Plaintiff whole. Foresters also cured all of the purported violations alleged in Plaintiff’s Civil



             1
            The Second Amended Complaint with Interlineation supersedes the Second Amended
   Complaint [Doc. 94], and rendered Foresters’ Motion to Dismiss the Second Amended Complaint
   [Doc. 95] moot. See Castros v. Signal Finance Co., No. 1:17-cv-21870-KMM, 2018 WL 1137099,
   at *2 (S.D. Fla. Feb. 4, 2018) (“[A]n ‘amended pleading supersedes the former pleading’ which
   renders moot a motion pertaining to the original pleading.”) (quoting Dresdner Bank AG in
   Hamburg v. M/V Olympia Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006)).
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   Remedy Notice (“CRN”) within 60 days, which precluded Plaintiff from pursuing a bad faith claim
   under Fla Stat. § 624.155. Instead of recognizing that this action was concluded except for the
   amount of attorney’s fees due, Plaintiff filed an amended pleading seeking extra-contractual
   consequential for the alleged delay in receiving the Death Benefit, and punitive damages for
   alleged fraudulent misrepresentations in the Certificate, both of which are precluded as a matter of
   law, as dictated by the Florida Supreme Court’s recent opinion, Citizens Property Ins. Corp. v.
   Manor House, LLC, No. SC19-1294 (Fla. 2021) (“Citizens Property,” Ex. A).
          By way of brief background after Rigoberto Vinas (“Mr. Vinas”) passed away and Plaintiff
   filed her claim, Foresters conducted a contestability investigation, and discovered that it appeared
   that Mr. Vinas had misrepresented his medical history in his life insurance application. After
   Plaintiff initiated this action on October 4, 2018, Foresters, through discovery, sought to obtain
   Mr. Vinas’s complete medical records to among other things, ascertain Mr. Vinas’s knowledge of
   the medical conditions that he did not disclose in his application. However, Foresters was
   stonewalled at every turn. Plaintiff served meritless objections and imposed frivolous roadblocks,
   which required Foresters to schedule a discovery hearing, and prompted the Court to order the
   parties to brief the issues. 2 On March 26, 2020, after months of wasting judicial resources, Plaintiff
   finally provided Foresters with evidence establishing her entitlement to the Death Benefit. As soon
   as Plaintiff provided this evidence, Foresters approved her claim, and paid the Death Benefit and
   accrued interest to compensate Plaintiff for the alleged delay in receiving the funds, and agreed to
   pay reasonable attorney’s fees and costs. 3 On April 8, 2020, Foresters issued a check to Plaintiff
   in the amount of $118,220.74, which included the $92,000.00 Death Benefit and $26,220.74 in
   interest. [Check, Ex. B]. In doing so, Foresters fulfilled all of its contractual obligations.
          Nevertheless, despite the fact that Plaintiff is not entitled to extra-contractual damages she
   filed the Second Amended Complaint with Interlineation and attempts to assert three causes of
   action—all of which fail as a matter of law. Despite four opportunities to state a valid claim,



          2
             See Defendant’s Motion to Overrule Plaintiff’s Subpoena Objections and Responses to
   Defendant’s Written Discovery [Doc. 61]; Plaintiff’s Response [Doc. 62]; Paperless Order [Doc.
   66)] (directing Foresters to provide a declaration in support of its motion); Defendant’s Affidavit
   [Doc. 67]; Paperless Order (Doc. 68) (ordering the parties to provide additional briefing).
           3
             Once the Court became aware of the parties’ settlement, after having wasted time
   analyzing the parties’ numerous filings, the Court suspended the briefing schedule. [Paperless
   Order, Doc. 71].
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   Plaintiff still has not done so. In Count I, Plaintiff asserts a breach of contract claim based on
   Foresters’ alleged untimely payment of the Death Benefit and seeks consequential damages. The
   Court should dismiss this claim because Foresters paid the Death Benefit, plus interest, and
   satisfied all of its contractual obligations and Plaintiff is not entitled to consequential damages. In
   Count II, Plaintiff seeks a declaration that the Certificate was valid and in force at the time of the
   insured’s death. Despite that the fact that Plaintiff recognized that Count II is moot in response to
   Foresters’ prior Motion to Dismiss because Foresters has already acknowledged the Certificate’s
   validity, Plaintiff refiled the claim. [Doc. 102 at 7]. Finally, in Count III, Plaintiff attempts to
   assert a bad faith claim couched as a fraudulent inducement claim based on direct and vicarious
   liability. The Court should dismiss Count III because: (1) Plaintiff is attempting to an end run
   around Fla. Stat. § 624.155; (2) Plaintiff lacks standing to assert a fraudulent inducement claim
   against Foresters; (3) Plaintiff fails to allege the requisite elements of fraud with the specificity
   required by Rule 9(b); (4) Plaintiff does not allege that Foresters committed any wrongdoing
   separate and apart from its alleged breach of contract, for which she has already been made whole;
   (5) Plaintiff does not allege any basis to hold Foresters vicariously liable; and (6) Count III is an
   improper shotgun pleading. All claims should be dismissed with prejudice because Plaintiff has
   already had four opportunities to state a claim and failed to do so.
      II.      Factual Allegations in the Second Amended Complaint with Interlineation
            On January 26, 2015, Foresters issued the Certificate to Mr. Vinas, insuring Mr. Vinas’s
   life in the amount of $92,000. [Second Am. Compl. ¶¶4, 6; Certificate, Doc. 127-1]. Mr. Vinas
   named Plaintiff, his wife, as the sole beneficiary. [Second Am. Compl. ¶5.]
            After Mr. Vinas died on January 11, 2017, Plaintiff filed a claim for the Death Benefit. [Id.
   ¶¶9, 14.] Because Mr. Vinas died within the Certificate’s two year contestability period, Foresters
   conducted a contestability investigation. [Id. ¶35; Certificate at 14]; Fla Stat. 627.455 (“Every
   insurance contract shall provide that the policy shall be incontestable after it has been in force
   during the lifetime of the insured for a period of 2 years from its date of issue.”). On Mr. Vinas’s
   application for the Certificate and accompanying Diabetes Questionnaire, Mr. Vinas declared that
   “the statements, answers, and representations contained . . . [we]re full, complete, and true to the
   best of [his] knowledge and belief.” [Second Am. Compl. ¶¶23, 33]. However, during Foresters’
   contestability investigation, Foresters came to believe that Mr. Vinas’s application answers were



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   not true to the best of his knowledge and belief. [Id. ¶22.] Accordingly, by letter dated April 5,
   2017, Foresters notified Mrs. Vinas of its decision to rescind the Certificate. [Id. ¶10.]
          On October 4, 2018, Plaintiff initiated this action and sought Death Benefit under the
   Certificate. [Compl., Doc. 1]. On September 9, 2019, Plaintiff amended her complaint to seek
   consequential damages in addition to the Death Benefit. [Am. Compl., Doc. 33].
          Throughout the discovery process, Foresters attempted to obtain additional information
   about Mr. Vinas’s medical history and his knowledge of his conditions. However, Plaintiff
   repeatedly impeded Foresters’ efforts by making unwarranted objections. Plaintiff did not provide
   any evidence suggesting that Mr. Vinas believed that his application answers were accurate until
   March 26, 2020. Once Foresters received this information, the parties reached a partial settlement,
   in which Foresters agreed to pay Plaintiff the Death Benefit under the Certificate, plus interest, as
   well as reasonable attorney’s fees and taxable costs. [Notice of Partial Settlement, Doc. 73.] On
   April 8, 2020, Foresters issued a check to Plaintiff in the amount of $118,220.74, which included
   the $92,000.00 Death Benefit and $26,220.74 in interest. [Check.]
          Nevertheless, on August 4, 2020, Plaintiff filed the Second Amended Complaint. [Second
   Am. Compl., Doc. 94]. On January 11, 2021, Plaintiff amended her pleading for the third time
   by filing the Second Amended Complaint with Interlineation. In Count I, Plaintiff re-asserts her
   claim for breach of contract and seeks to recover consequential damages as a result of “Foresters’
   failure to timely pay the death benefit.” [Second Am. Compl. ¶19.] In Count II, Plaintiff seeks a
   declaration that the Certificate was “valid and in full force and effect” at the time of Mr. Vinas’s
   death. [Id. ¶26.] Finally, in Count III, Plaintiff asserts a claim for fraud in the inducement based
   on Foresters’ alleged breach of the terms of the Certificate. [Id. ¶¶30-45.] Specifically, Plaintiff
   claims that “Foresters falsely and fraudulently represented, through language in the Policy and
   incorporated Florida law, that in the event Mr. Vinas were to die from a non-excluded cause within
   the first two years following issuance of the Policy, Foresters would pay benefits under the Policy
   as long as Mr. Vinas answered the Application questions to the best of his knowledge and belief”
   “in order to induce Rigoberto Vinas to enter into the Policy of Insurance with Foresters” and “pay
   premiums for the policy.” [Id.¶¶36-37 (emphasis added)]. Plaintiff alleges that “Foresters,
   through its sales agent Jazmin Lightbourn, explained how the contestability period work and
   represented that Foresters would not deny a claim or rescind the policy for inaccuracies in the



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   Application so long as Mr. Vinas answered the Application questions truthfully.” [Id.¶36a].
   Plaintiff’s claims are due to be dismissed in their entirety.
             III. Standard of Review
             A motion to dismiss pursuant to Rule 12(b)(6) tests the legal sufficiency of a complaint. A
   complaint must state sufficient factual allegations to “state a claim to relief that is plausible on its
   face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim is plausible only where “the plaintiff
   pleads factual content that allows the court to draw the reasonable inference that the defendant is
   liable for the misconduct alleged.” Id. at 678. This standard requires more than “labels and
   conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl.
   Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also Iqbal, 556 U.S. at 678 (stating that under
   this standard, “threadbare recitals of the elements of a cause of action, supported by mere
   conclusory statements, do not suffice.”). While factual allegations are accepted as true, the court
   is not required to accept mere conclusory allegations or conclusions of law. Iqbal, 556 U.S. at
   678; Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 453 (2006); see also Warren Tech., Inc. v.
   UL LLC, 962 F.3d 1324, 1328 (11th Cir. 2020) (“[A] court is not required to credit ‘conclusory
   allegations, unwarranted deductions of facts or legal conclusions masquerading as facts.’”)
   (citation omitted).
       IV.      Discussion

                a. Plaintiff’s claim for breach of contract should be dismissed as moot under
                   Article III because there is no longer a live controversy for the Court to resolve
                   and Plaintiff is not entitled to consequential damages as a matter of law.

             In Count I of the Complaint, Plaintiff asserts a claim for breach of contract based on
   “Foresters’ failure to timely pay the death benefit to Vinas.” [Second Am. Compl. ¶18.] In order
   to state a claim for breach of contract under Florida law, a plaintiff must plead: (1) that a contract
   existed; (2) that there was a breach of contract; and (3) that damages occurred. See Bland v.
   Freightliner LLC, 206 F. Supp.2d 1202, 1210 (M.D. Fla. 2002). Although Foresters initially
   denied Plaintiff’s claim, it has since paid Plaintiff the Death Benefit, plus interest. Foresters
   fulfilled its contractual obligations, and this claim is now moot, as there is no longer a case or




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   controversy for the Court to resolve. 4 Article III of the United States Constitution requires courts
   to decide only cases or controversies. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 559
   (1992). However, a “case is moot when the issues presented are no longer ‘live’ or the parties lack
   a legally cognizable interest in the outcome.” Al Najjar v. Ashcroft, 273 F.3d 1330, 1335-36 (11th
   Cir. 2001). “Plainly, if a suit is moot, it cannot present an Article III case or controversy and the
   federal courts lack subject matter jurisdiction to entertain it.” Coral Springs St. Sys., Inc. v. City
   of Sunrise, 371 F.3d 1320, 1328 (11th Cir. 2004).
          Here, there is no longer a “live” issue as to whether Foresters breached the Certificate, and
   whether Plaintiff sustained recoverable damages. On April 8, 2020, Foresters issued a check to
   Plaintiff in the amount of $118,220.74, which included the $92,000.00 Death Benefit and
   $26,220.74 in interest. [Check.] 5 Therefore, the issue of breach is moot. See Stewart v.
   Chesapeake Life Ins. Co., No. 5:17-cv-380-Oc-30PRL, 2017 WL 4410097, at *2 (M.D. Fla. Oct.
   4, 2017) (dismissing a breach of contract claim brought against a life insurance company because
   the insurance company “paid the entire death benefit,” and therefore “could not have breached the
   policy.”).
          Additionally, Plaintiff’s claim that she is entitled to consequential damages fails as a matter
   of law. [Second Am. Compl. ¶17]. “Consequential damages are ‘[l]osses that do not flow directly
   and immediately from an injurious act but that result indirectly from the act.’” See Kingship
   Hospitality, Inc. v. Am. Economy Ins. Co., No. 5:18-cv-520-Oc-30PRL, 2018 WL 6427681, at *2
   (M.D. Fla. Dec. 5, 2018) (citing Black’s Law Dictionary (10th ed. 2014)). Plaintiff claims that
   she is entitled to consequential damages to compensate her for the alleged delay between her claim



          4
             The only remaining issue for the Court to resolve is the amount of reasonable attorney’s
   fees and taxable costs to which Plaintiff is entitled. Foresters asks the Court to retain jurisdiction
   as to this limited issue.
           5
             The Court may consider the Check in resolving this Motion without converting it into one
   for summary judgment because the authenticity of the check is undisputed, and the issue of
   whether, and when, Foresters paid Plaintiff the Death Benefit, plus interest, is central to Plaintiff’s
   breach of contract claim. See Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002).
   Additionally, because the Check directly contradicts Plaintiff’s assertion that Foresters has not
   paid the Death Benefit, the Check governs and the Court must disregard Plaintiff’s allegation. See
   Eiras v. Florida, 239 F. Supp.3d 1331, 1342 (M.D. Fla. 2017) (“[W]hen the Court considers
   exhibits attached to a motion to dismiss, and those exhibits directly contradict the allegations in
   the pleading, the exhibits govern.”).


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   and the Check. [Second Am. Compl. ¶17]. However, in Citizens Property, the Florida Supreme
   Court squarely held that “extra-contractual, consequential damages are not available in a first-
   party breach of insurance contract action because the contractual amount due to the insured is
   the amount owed pursuant to the express terms and conditions of the insurance policy.” Citizens
   Property at 9 (emphasis added). The Court recognized that “the contractual amount due the insured
   is the amount owed pursuant to the express terms and conditions of the policy,” and extra-
   contractual damages are only available in a bad faith action pursuant to Section 624.155, which
   Plaintiff is precluded from pursuing since Foresters cured any violation alleged in the CRN. Id. at
   6 (citing Talat Enterprises, 753 So.2d at 1283). Here, the Certificate contemplates payment of the
   Death Benefit and interest. [Certificate at 12.] The Certificate’s merger clause, which provides
   that the Certificate and application materials, inter alia, constitute the parties’ “entire contract,”
   which could not be modified by anyone. [Id. at 10.] The merger clause expressly limits the amount
   due under the Policy to the Death Benefit and interest.
          In addition to paying the Death Benefit, Foresters also paid interest at the rate of 8%, which
   is more than the 3.92% interest rate required by Fla. Stat. § 627.4615. See Fla. Stat. § 627.4615
   (stating that the interest rate must be at least equal to the Moody’s Corporate Bond Yield Average-
   Monthly Average Corporate as of the day the claim was received, which was 3.92% on January
   12, 2017, when Plaintiff filed her claim). “It is precisely for this delay in the payment of money
   that additional damages are allowed in the form of prejudgment interest.” Md. Cas. Co. v. Fla.
   Produce Distribs., Inc., 498 So. 2d 1383, 1384 (Fla. 5th DCA 1986); see also Shideler v. Conn.
   Gen. Life Ins. Co., 563 So. 2d 1082, 1084 (Fla. 5th DCA 1990) (Prejudgment interest is a legally
   recognized “means to transfer to the prevailing party the gain the losing party realized, or could
   have realized, from the use of the money during the relevant time period.”); Baxter v. Royal Indem.
   Co., 285 So. 2d 652, 657 (Fla. 1st DCA 1973) 6 (“The penalty imposed by law on the insurer for
   its failure to settle [or resolve] the claim of its insured within a reasonable time is the payment of
   interest at the legal rate.”). “To charge the insurer prejudgment interest on the delayed payment
   of the money due and also charge it for the loss of use of the damaged property [ie, consequential
   damages] would be to make the insurer pay twice for essentially the same thing.” Fla. Produce
   Distribs., Inc., 498 So. 2d at 1384-85; see also Ins. Co. of N. Am. v. Lexow, 937 F.2d 569 (11th


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            Although Baxter was decided before Florida enacted Fla. Stat. § 624.155, its statement
   regarding the purpose of prejudgment interest remains viable.
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   Cir. 1991) (“After determination of the amount of damages and defendant’s liability, the plaintiff
   is to be made whole by an award of prejudgment interest from the date of the loss.”); see also
   Gross v. Silverg, No. 11-80210-CIV-MIDDLEBROOKS/VITUNAC, 2012 WL 13129923, at *3
   (S.D. Fla. Mar. 16, 2012) (same); Norsul Oil & Min. Co., Ltd. v. Texaco, Inc., 703 F. Supp. 1520
   (S.D. Fla. 1988) (“The purpose of awarding interest on damages incurred is to make whole the
   party owed those damages by compensating him for the loss of the use of h[er] money for the
   period involved.”). Foresters payment of the Death Benefit and interest satisfied its contractual
   obligations, and therefore Plaintiff is not entitled to consequential damages as a matter of law. See
   Citizens Property.
              b. Plaintiff’s claim for declaratory relief should be dismissed because there is no
                 live controversy for the Court to resolve.

          In Count II of Plaintiff’s Second Amended Complaint, she seeks a declaration that the
   Certificate was “valid and in full force and effect” at the time of Mr. Vinas’s death. [Second Am.
   Compl. ¶¶26-27.]
           An essential element of every declaratory judgment action is the existence of an
           “actual controversy” between the parties. An actual controversy exists when
           “there is a substantial controversy, between parties having adverse legal interests,
           of sufficient immediacy and reality to warrant the issuance of a declaratory
           judgment.” Ordinarily, a controversy is not sufficiently immediate or real where
           the parties’ dispute is only hypothetical and not yet ripe, has been rendered moot,
           or where the court’s resolution of the matter would be purely academic.

   Mt. Hawley Ins. Co. v. Tactic Security Enforcement, Inc., 252 F. Supp.3d 1307 (M.D. Fla. 2017)
   (internal citations omitted). Here, Plaintiff has failed to state a sufficient claim for declaratory
   relief because she has not alleged the existence of an actual controversy between the parties. As
   discussed in Section IV.a supra, Foresters acknowledged that the Certificate was “valid and in full
   force and effect” at the time of Mr. Vinas’s death, and paid Plaintiff the Death Benefits, plus
   interest. Thus, any issue regarding the validity of the Certificate is now moot. See 200 Leslie
   Condo. Ass’n, Inc. v. QBE Ins. Corp., 965 F. Supp.2d 1405, 1408 (S.D. Fla. 2013) (finding that a
   claim for declaratory judgment was moot because the parties agreed that the property damage in




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   dispute was covered under the insurance policy). Therefore, Count II of Plaintiff’s Second
   Amended Complaint with Interlineation for declaratory judgment should be dismissed. 7
              c. Plaintiff’s claim for fraud in the inducement should be dismissed because it is
                 an improper bad faith claim in disguise, Plaintiff lacks standing and failed to
                 allege that Foresters committed any wrongdoing other than breach its
                 contractual obligations.

          In Count III of the Complaint, Plaintiff attempts to assert a claim for fraud in the
   inducement. Specifically, Plaintiff states, in a conclusory fashion, that “Foresters falsely and
   fraudulently represented, through language in the Policy and incorporated Florida law, that in the
   event Mr. Vinas were to die from a non-excluded cause within the first two years following
   issuance of the Policy, Foresters would pay benefits under the Policy as long as Mr. Vinas
   answered the Application questions to the best of his knowledge and belief” “in order to induce
   Rigoberto Vinas to enter into the Policy of Insurance with Foresters” and “pay premiums for the
   policy.” [Second Am. Compl. ¶¶36, 37.] Plaintiff also alleges that “Foresters, through its sales
   agent Jazmin Lightbourn, explained how the contestability period worked and represented that
   Foresters would not deny a claim or rescind the policy for inaccuracies in the Application so long
   as Mr. Vinas answered the Application questions truthfully.” [Id.¶36a]. Plaintiff is seeking
   punitive damages. [Id., Wherefore Clause ¶f.] Not only is Plaintiff precluded from asserting this
   claim as a matter of law, but she has not sufficiently alleged a fraud claim under Rule 9(b), or any
   basis to hold Foresters vicariously liable for Ms. Lightbourn’s alleged misrepresentations.
          Plaintiff’s claim should be dismissed as an improper attempt to do an end run around Fla.
   Stat. § 624.155 (“Section 624.155”), which precludes Plaintiff from pursuing a bad faith claim
   against Foresters and from seeking extra-contractual damages. On February 5, 2020, Plaintiff filed
   a Civil Remedy Notice (“CRN”) alleging that Foresters engaged in bad faith conduct based on the
   same conduct underpinning Plaintiff’s fraudulent inducement claim. [CRN, Ex. C]. 8 During the
   discovery process, Foresters repeatedly attempted to obtain information about Mr. Vinas’s medical
   history and his knowledge of his medical conditions. Plaintiff impeded Foresters’ efforts with


          7
             In Plaintiff’s Response to Foresters’ Motion to Dismiss the Second Amended Complaint,
   she “agree[d] Count II has become moot.” [Doc. 102 at 7].
           8
             The Court may consider Plaintiff’s CRN and Foresters’ Response without converting the
   instant Motion into one for summary judgment. See Bouton v. Ocean Properties, Ltd., 201 F.
   Supp.3d 1341 (S.D. Fla. 2016) (“A court properly takes judicial notice of relevant public records
   in deciding a motion to dismiss, and consideration of such documents
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    unwarranted objections and failed to provide any evidence suggesting that Mr. Vinas’s
    representations were accurate until March 26, 2020leaving Foresters only 10 days to potentially
    “cure” any alleged violation. See Section 624.155(5)(c) (“No action shall lie if, within 60 days
    after filing notice, the damages are paid or the circumstances giving rise to the violation are
    corrected.”). Immediately thereafter, on April 3, 2020, Foresters agreed to pay the Death Benefit,
    plus interest and reasonable attorney’s fees and costs, and thereby cured the alleged violations.
    [Foresters’ CRN Responses, Ex. D]. Because Foresters corrected the alleged violations within 60
    days of the CRN, Section 624.155 precludes Plaintiff from seeking bad faith damages against
    Foresters. See Section 624.155(5)(c). 9
           Here, Plaintiff’s attempt to assert a fraudulent inducement claim, in which she seeks extra-
    contractual punitive damages, is a statutorily precluded bad-faith claim in disguise. In the CRN,
    Plaintiff alleged that Foresters committed bad faith by committing the same acts which underpin
    her fraud claim. Specifically, Plaintiff alleged that Foresters “misrepresent[ed] pertinent facts or
    insurance policy provisions relating to coverages at issue” in violation of Fla. Stat.
    626.9541(1)(i)(3)(b). [CRN at 2]. Because Foresters cured the violation, Section 624.155
    precludes Plaintiff from asserting a bad faith claim under Fla. Stat. 626.9541(1)(i)(3)(b). In the
    Complaint, Plaintiff improperly couched a claim under this provision as a fraud in the inducement
    claim based on identical allegations.
           In Citizens Manor, the circuit court granted the insurance company’s motion to dismiss
    Plaintiff’s common law fraud claim because it violated the independent tort doctrine, which
    Foresters addresses below, and because it was “interpreted as a cause of action for extracontractual
    damages or bad faith.” [Citizens’ Motion for Judgment on the Pleadings at 3-7, Ex. D; Order
    Granting Citizens’ Motion, Ex. E]. Additionally, in Geico General Ins. Co. v. Hoy, 927 So.2d 122
    (Fla. 2d DCA 2006), the court recognized that an insured’s fraud claims were bad faith claims in
    disguise under Fla. Stat. § 624.155. Id. at 123-26. The plaintiff asserted claims against GEICO
    for “fraudulent misrepresentation” and “fraudulently inducing her” to sign a release. Id. at 123.
    The court held that the plaintiff was not entitled to her claim file because “[w]hen a litigant files



           9
             Notably, “it is not necessary that extra-contractual damages be paid by an insurer to avoid
    bad faith litigation.” Franklin v. Minnesota Mut. Life Ins. Co., 97 F. Supp.2d 1324, 1329 (S.D.
    Fla. 2000) (citing Talat Enterprises, Inc. v. Aetna Casualty & Surety Co., 753 So.2d 1278, 1283
    (Fla. 2000)).
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    claims for both coverage and bad faith in the same action, the insurer’s claim file is not
    discoverable until the issue of coverage has been resolved.” Id. at 125. 10 Further underscoring
    this point, in Hogan v. Provident Life & Accident Ins. Co., 665 F. Supp.2d 1273 (M.D. Fla. 2009),
    the court recognized that a plaintiff could not recover under a common law claim for fraud and a
    statutory claim under Fla. Stat. § 624.155, because this would constitute a double recovery based
    on the same alleged harm. Therefore, Plaintiff’s fraud in the inducement claim should be
    dismissed as a matter of law because it is precluded under Section 624.155.
           Even if the Court finds that Plaintiff’s fraudulent inducement is not a bad faith claim in
    disguise, Plaintiff is precluded from seeking extra-contractual damages as a result of the alleged
    fraud. In Citizens Manor, Florida’s Supreme Court made clear that extra-contractual damages are
    only available in a bad faith action under Section 624.155. Citizens Manor at 6. The court held
    that the plaintiff could not seek extra-contractual damages against the insurance company because
    the insurer was immune from suit under Section 624.155. Id. Similarly, Plaintiff may not seek
    extra-contractual damages against Foresters because it is now statutorily immune from suit under
    Section 624.155 as a result of its CRN cure. Because Plaintiff has already paid the Death Benefit,
    plus interest, Plaintiff’s fraud in the inducement claim is moot.
           Additionally, Plaintiff’s claim should be dismissed because she lacks standing.           To
    establish standing for a fraudulent inducement claim based on a misrepresentation, “Plaintiff must
    demonstrate either (1) that the Defendant[‘]s misrepresentation was directly made to [her] and
    Plaintiff relied on the misrepresentation to [her] detriment; or (2) that Plaintiff was properly
    assigned the rights to pursue this claim by the original party to whom the misrepresentation was
    made and detrimentally relied upon.” Branch Banking & Trust Co. v. Appraisalfirst, Inc., No. 10-
    21141-CIV-GOLD/MCALILEY, 2010 WL 11596299, at *4 (S.D. Fla July 7, 2010)(citing
    Connecticut v. Health Net, Inc., 383 F.3d 1258, 1261 (11th Cir. 2004)). Plaintiff lacks standing
    under the first prong because she does not allege that Foresters fraudulently induced her to
    purchase the Certificate. Instead, she claims that Foresters made fraudulent statements to Mr.
    Vinas in order to induce him to purchase the Certificate. Additionally, Plaintiff lacks standing
    under the second prong because she fails to allege that Mr. Vinas assigned his right to Plaintiff to
    pursue a fraudulent inducement claim.



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                The issue of whether the fraud claims were ripe was not before the court.
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           Plaintiff’s status as a third party beneficiary of the Certificate is insufficient to confer
    standing to pursue a claim for fraudulent inducement. Under Florida law, an intended third-party
    beneficiary has standing to enforce a contract. Enterprise Leasing Co. v. Demartino, 15 So.3d 711,
    714 (Fla. 2d DCA 2009). Here, however, Plaintiff does not seek to enforce the Certificate, but
    instead seeks extra-contractual and punitive damages, to which she is not entitled under Florida
    law or the terms of the Certificate. Therefore, Plaintiff’s status as a third party beneficiary does
    not give her standing to pursue this tort claim. See Branch Banking, 2010 WL 11596299 at **3-
    5 (analyzing whether plaintiff was a third party beneficiary in order to determine whether she had
    standing to pursue a breach of contract claim, and analyzing whether the plaintiff was assigned
    rights under the contract to determine whether she had standing to pursue a fraudulent
    misrepresentation claim).
           Plaintiff’s claim also fails as a matter of law because it constitutes an improper shotgun
    pleading. A shotgun pleading is “[t]he failure to identify claims with sufficient clarity to enable
    the defendant to frame a responsive pleading.” Beckwith v. Bellsouth Telecommunications Inc.,
    146 F. App’x 368, 371-72 (11th Cir. 2005). A shotgun pleading occurs when a party “commits
    the sin of not separating into a different count each cause of action or claim for relief,” as Plaintiff
    seeks to do here. Weiland v. Palm Beach Cnty. Sheriff’s Office, 792 F.3d 1313, 1322 (11th Cir.
    2015). In the Eleventh Circuit, shotgun pleadings are “altogether unacceptable.” Cramer v. State
    of Fla., 117 F.3d 1258, 1263 (11th Cir. 1997). “District courts have the inherent authority to
    dismiss a complaint on shotgun-pleading grounds.” Vibe Miko, Inc. v. Shabanets, 878 F.3d 1291,
    1296 (11th Cir. 2018). 11
           In Plaintiff’s shotgun pleading, she “[c]rams multiple, distinct theories of liability into one
    claim.” Wheeler v. Carnival Corp., No. 20-20859, 2020 WL 977935, at *1 (S.D. Fla. Feb. 28,
    2020). That is, in the same count, she seeks to hold Foresters directly liable for fraud in the
    inducement, and vicariously liable for fraud in the inducement based on an agency theory. “Each


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              Although ordinarily a party is provided an opportunity to correct the deficiency, the court
    need not do this where the party already had prior chances to amend. Id. (“We will not adopt a
    rule requiring district courts to endure endless shotgun pleadings.”). Although Plaintiff has not
    had “an opportunity to correct [her] shotgun pleading,” this is her fourth attempt to state a sufficient
    claim, the deadline to amend has already passed over a year ago on January 3, 2020, dispositive
    motions are due in two weeks on February 5, 2021, and trial is scheduled for April 5, 2021. The
    Court need not grant leave to correct this deficiency under these circumstances.

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    distinct theory, however, is a separate cause of action that must be asserted independently and with
    corresponding supporting factual allegations.” Id. For example, in Noon v. Carnival Corp., No.
    18-23181-Civ-Williams/Torres, 2019 WL 2254924 (S.D. Fla. Feb. 1, 2019), adopted, 2019 WL
    3886543 (S.D. Fla. Feb. 20, 2019), this Court dismissed an improper shotgun complaint because
    “the amended complaint conflate[d] two different theories of liability—direct negligence and
    vicarious liability.” Id. at *6. The Court held that “[t]hese allegations c[ould] not stand because
    ‘commingling direct and vicarious liability is an improper pleading practice.” Id.; see also
    Gayou v. Celebrity Cruises, Inc., No. 11-23359-Civ, 2012 WL 2049431, at **5-6, n.2 (S.D. Fla
    June 5, 2012) (dismissing a complaint that “lumped” various theories of liability into “a single
    maritime negligence claim.”). Therefore, Plaintiff’s claim should be dismissed as an improper
    shotgun pleading.
            Further, Plaintiff has failed to state a sufficient claim for fraudulent inducement with the
    specificity required by Rule 9(b). Under Florida law, to state a claim for fraudulent inducement,
    a plaintiff must allege“: (1) a false statement of material fact; (2) the statement maker’s knowledge
    that the representation is false; (3) intent that the representation induces another’s reliance; and (4)
    consequent injury to the party acting in reliance.” PVC Windoors, Inc. v. Babbitbay Beach Const.,
    N.V., 598 F.3d 802 (11th Cir. 2010).     Notably, “[w]here a complaint contains averments of fraud
    . . . [Rule 9(b)] imposes a heightened pleading standard, requiring that the circumstances
    constituting fraud be state with particularity.” Medimport S.R.L. v. Cabreja, 929 F. Supp.2d 1302,
    1318 (S.D. Fla. Mar. 12, 2013). Under Rule 9(b), a plaintiff must set forth
            (1) precisely what statements were made in what documents or oral
            representations or what omissions were made; (2) the time and place of each such
            statement and the person responsible for making (or, in the case of omissions, not
            making) same; (3) the content of such statements and the manner in which they
            misled the plaintiff; and (4) what the defendants obtained as a consequence of the
            fraud.

    Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001).
            Here, Plaintiff does not sufficiently allege any of the elements with the specificity Rule
    9(b) requires. Plaintiff simply states that “Foresters falsely and fraudulently represented, through
    language in the Policy . . . that in the event Mr. Vinas were to die from a non-excluded cause within
    the first two years following issuance of the Policy, Foresters would pay benefits under the Policy
    as long as Mr. Vinas answered the Application questions to the best of his knowledge and belief”


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    “in order to induce Rigoberto Vinas to enter into the Policy of Insurance with Foresters” and “pay
    premiums for the policy.” [Id.¶¶36-37.] Plaintiff alleges that Ms. Lightbourn “explained how the
    contestability period worked and represented that Foresters would not deny a claim or rescind the
    policy for inaccuracies in the Application so long as Mr. Vinas answered the Application questions
    truthfully.”   Plaintiff does not identify the time, place, or content of these alleged
    misrepresentations. Plaintiff does not state, specifically, what Ms. Lightbourn allegedly said about
    “how the contestability period worked.”          Plaintiff’s conclusory allegations regarding an
    unidentified representation, at an unknown time and place are insufficient, and the Court need not
    accept these at true in resolving the Motion. See Warren Tech., 962 F.3d at 1328 (“[A] court is
    not required to credit ‘conclusory allegations, unwarranted deductions of facts or legal conclusions
    masquerading as facts.’”). Further, with respect to the third and fourth elements in particular,
    Plaintiff does not allege that Foresters made any fraudulent statements to her to induce her to
    purchase the Certificate, or that she relied on Foresters’ statements to her detriment. Instead,
    Plaintiff alleges that Foresters made allegedly false representations to Mr. Vinas in order to induce
    him to purchase the Certificate.      [Second Am. Compl. ¶¶36-37.]           Accordingly, Plaintiff’s
    allegations are insufficient to state a claim for fraudulent inducement, and should be dismissed.
            Notably, to the extent that Plaintiff claims that Foresters’ fraudulent conduct consisted of
    failing to adhere to the representations in the Certificate regarding Foresters’ right to investigate
    whether Mr. Vinas answered the questions in his Application to the best of his knowledge and
    belief within two years of issuing the Certificate, Plaintiff’s claim fails as a matter of law because
    it violates Florida’s Independent Tort Rule. Under this doctrine, “a plaintiff may not pursue a tort
    theory of relief where a contract created the duty to act, performance is measured against the
    contractual obligations, and the contract provides the remedy for defective performance.” Nat’l
    Fire Ins. Co. of Hartford v. Johnson Controls Fire Protection LP, No. 19-14050-CIV-
    ROSENBERG/MAYNARD, 2019 WL 3428552, at *2 (S.D. Fla. Apr. 18, 2019). “In practical
    effect it bars a plaintiff from raising a tort cause of action that restates a breach of contract cause
    of action. For a tort claim to stand, it must be independent of the breach of contract claim.” Id.
    (emphasis in original). “In assessing whether fraud in the inducement is distinct from a claim
    arising under a contract, the critical inquiry focuses on whether the alleged fraud is separate from
    the performance of the contract.” Kaye v. Ingenio, Filale De Loto-Quebec, Inc., No. 13-61687-
    CIV, 2014 WL 2215770, at *5 (S.D. Fla. May 29, 2014).                      Notably, “statements or

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    misrepresentations made to induce an individual to enter a contract, if later contained within the
    terms of the actual contract, cannot constitute a basis on which to bring the fraud claim.” Ben-
    Yishay v. Mastercraft Dev., LLC, 553 F. Supp.2d 1360, 1370 (S.D. Fla. 2008) (emphasis added).
            Here, Plaintiff alleges nothing more than fraud in the performance, which underscores that
    this is an improper bad faith claim in disguise. Plaintiff alleges that “prior to the sale of the policy,
    Foresters, through its sales agent Jazmin Lightbourn . . . represented that Foresters would not deny
    a claim or rescind the policy” if Mr. Vinas answered the Application questions to his best
    knowledge and belief. [Second Am. Compl. ¶36a]. There is no dispute that Ms. Lightbourn’s
    alleged representation was embodied in the Certificate’s Incontestability clause. [Certificate at
    14]. As such, Plaintiff further alleges that “Foresters falsely and fraudulently represented, through
    language in the Policy and incorporated Florida law, that in the event Mr. Vinas were to die from
    a non-excluded cause within the first two years following issuance of the Policy, Foresters would
    pay benefits under the Policy as long as Mr. Vinas answered the Application questions to his best
    knowledge and belief.” [Second Am. Compl. ¶36]. Plaintiff alleges that the Policy provisions
    constituted specific representations to o by [sic] Foresters in the form of contractual promises
    and/or statements of present intention,” and Foresters did not intend to perform those provisions.
    [Id. ¶32.]. Even assuming these allegations are true, which Foresters disputes, Ms. Jazmin and
    Foresters’ alleged misrepresentation regarding the contestability investigation was embodied in
    the Certificate, and therefore the appropriate remedy for failure to comply is a breach of contract
    claim. See Kaye, 2014 WL 2215770 at *5 (dismissing a fraudulent inducement claim because
    “[w]hile the initial promise may have been fraudulent, the terms of the purported fraud were
    memorialized in the License Agreement,” and therefore, “any failure to comply with those terms
    results in an action for breach of contract.” ). That is, Plaintiff does not allege that Foresters made
    any pre-contractual statements which were not embodied in the Certificate which induced Mr.
    Vinas to purchase the Certificate, and certainly not with the specificity Rule 9(b) requires. Instead,
    she relies on a statement within the contract. Id. (citing HTP, Ltd. v. Lineas Aras Costarricenses,
    S.A., 685 So.2d 1238, 1239 (Fla 1996)). Plaintiff’s fraud claim is “inextricably intertwined with
    Plaintiff’s breach of contract claim” because the misrepresentations alleged are “in the
    performance of the contract.” Perez v. Scottsdale Ins. Co., No. 19-22761-Civ-Scola, 2019 WL
    5457746, at *4 (S.D. Fla. Oct. 24, 2019)(dismissing a fraudulent inducement claim because “the
    misrepresentations alleged [were] in the performance of the contract.”). Therefore, Plaintiff’s

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    fraudulent inducement claim should be dismissed. See Lookout Mountain Wild Animal Park, Inc.
    v. Stearns Zoological Rescue & Rehab Ctr., Inc., 553 F. App’x 864, 865 (11th Cir. 2014) (affirming
    the district court’s order dismissing various tort claims, including fraudulent inducement, because
    the “plaintiff ha[d] not identified any tortious acts that [we]re sufficiently independent of the
    alleged of contract to render the tort claims viable.”)
           Plaintiff’s claim also fails because she does not sufficiently allege that Ms. Lightbourn was
    Foresters’ agent, and therefore does not state a basis to hold Foresters vicariously liable for any of
    her alleged misrepresentations. That is, Plaintiff does not state the requisite elements to plead an
    agency relationship. First, Plaintiff does not allege, even in a conclusory fashion, that Ms.
    Lightbourn was Foresters’ “statutory agent” pursuant to Fla. Stat. § 626.342(2). Second, Plaintiff
    fails to allege of the elements of apparent agency. “To state a claim of apparent agency, a plaintiff
    must allege that: 1) the alleged principal makes some sort of manifestation causing the third party
    to believe that the alleged agent had authority to act for the benefit of the principal; 2) such belief
    was reasonable; and 3) the claimant reasonably acted on such belief to his or her detriment.”
    Thompson v. Carnival Corp., 174 F. Supp. 3d 1327, 1342 (S.D. Fla. 2016). Plaintiff does not
    allege any of these elements. Plaintiff does not allege that Foresters made any “manifestation”
    which caused her, or Mr. Vinas, to believe that Ms. Lightbourn had authority to act on its behalf,
    that such a belief was reasonable, and that she (or Mr. Vinas) reasonably relied on that belief.
    Additionally, the Complaint is devoid of any allegations supporting an actual agency relationship.
    “To properly plead actual agency, one must allege: (1) acknowledgement by the principal that the
    agent will act for him; (2) the agent’s acceptance of the undertaking; and (3) the principal’s right
    to control the actions of the agent.” Johnston v. Maserati N. Am., Inc., No. 08-20898-CIV-
    HUCK/O’SULLIVAN, 2008 WL 11417405, at *2 (S.D. Fla. July 16, 2008). Plaintiff does not
    allege that Foresters “acknowledged” that Ms. Lightbourn would act for it, that Ms. Lightbourn
    “accepted” the undertaking, and that Foresters had the right to control Ms. Lightbourn’s conduct.
           Plaintiff’s conclusory allegation that Ms. Lightbourn was Foresters’ “sales agent” is
    insufficient to state the requisite elements of an agency relationship. Conclusory allegations are
    insufficient to establish agency. Mesa v. Am. Express Educational Assurance Co., No. 16-CV-
    24447-HUCK, 2017 WL 2210271, at *3 (S.D. Fla. May 18, 2017) (dismissing a claim for failure
    to plead the existence of an agency relationship in more than a conclusory fashion). Therefore,



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    Plaintiff fails to plead any basis on which the Court could hold Foresters vicariously liable for Ms.
    Lightbourn’s alleged statements, and Plaintiff’s claim should be dismissed.
           If, however, the Court declines to dismiss Plaintiff’s fraudulent inducement claim, then it
    should strike Plaintiff’s request for attorney’s fees under Fla. Stat. § 627.428. Section 627.428
    provides that upon entry of judgment against an insurer “under a policy or contract executed by
    the insurer,” the court shall award reasonable attorney’s fees in favor of the insured. Florida
    Supreme Court’s most recent applicable holding states: “[W]e hold that recovery for attorney’s
    fees under Section 627.428 requires an incorrect denial of benefits by the insurance company . . .”
    Johnson v. Omega Ins. Co., 200 So.3d 1207, 1219 (Fla. 2016) (emphasis added). 12 Plaintiff’s
    fraud in the inducement claim does not arise “under a policy or contract executed by the insurer,”
    as Section 627.428 requires, and does not seek to recover benefits due under a policy. Indeed,
    “one of the circumstances in which attorney’s fees consistently are not authorized under the statute
    is in actions in which an insured has prevailed against an insurer on a tort claim.” Hilson v. Geico
    Gen. Ins. Co., No. 8:11-cv-13-MSS-MAP, 2016 WL 3211474, at *6 (M.D. Fla. Mar. 31, 2016)
    (collecting cases); see also United Gen. Life Ins. Co. v. Koske, 519 So.2d 71, 72 (Fla. 5th DCA
    1988) (“Claimants in negligence actions are not entitled to attorney’s fees under this statute.”).
    Plaintiffs’ fraudulent inducement claim is a tort claim, and fees for its successful prosecution are
    not compensable under Fla. Stat. § 627.428. Therefore, Plaintiff’s claim for fees with respect to
    Count III should be stricken.
                d. All claims should be dismissed with prejudice.
           The Second Amended Complaint with Interlineation should be dismissed with prejudice.
    Dismissal with prejudice is appropriate where, as here, a plaintiff has already had four
    opportunities to state a claim. “Plaintiff here appears essentially to be on a fishing expedition in
    an attempt to state a cause of action against Defendants.” Gellert v. Richardson, No. 95-256-CIV-
    ORL-19, 1996 WL 107550, at *6 (M.D. Fla. Jan. 26, 1996). It would not be “proper to require
    Defendant[ ] to continuously spend time and money defending an action while a Plaintiff . . . file[s]
    in seriatim attempts to state new causes of action based on conclusory allegations.”              Id.
    Accordingly, Plaintiff’s claims should be dismissed with prejudice.


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               Although Foresters agreed to pay Plaintiff reasonable attorney’s fees and taxable costs
    incurred in pursuing the Death Benefit with respect to Count I through the date the claim was paid,
    Plaintiff is not entitled to attorney’s fees for her remaining claims.
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       V. Conclusion
           Accordingly, Foresters requests that this Court enter an Order dismissing the Second
    Amended Complaint with Interlineation with prejudice. Foresters also requests that this Court
    retain jurisdiction to determine the appropriate amount of attorney’s fees and taxable costs Plaintiff
    is entitled to recover with respect to Count I through the date the Death Benefit was paid.

    Dated: January 25, 2021                        MCDOWELL HETHERINGTON LLP
                                                   Attorneys for Defendant/Counter Plaintiff
                                                   2385 N.W. Executive Center Drive, Suite 400
                                                   Boca Raton, FL 33431
                                                   (561) 994-4311
                                                   (561) 982-8985 fax


                                                   By: ___s/Kristina B. Pett
                                                          KRISTINA B. PETT
                                                          Fla. Bar No. 0973688
                                                          kristina.pett@mhllp.com
                                                          DANIELLE E. SHURE
                                                          Fla Bar No. 118911
                                                          danielle.shure@mhllp.com




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                                     CERTIFICATE OF SERVICE

           I certify that on January 25, 2021, I electronically filed the foregoing with the Clerk of the
    Court by using the CM/ECF system which will send a notice of electronic filing to the following:

                                   Craig M. Greene, Esq.
                                   Kramer Green Zuckerman Greene & Buchsbaum, P.A.
                                   4000 Hollywood Blvd.
                                   Suite 485-S
                                   Hollywood, FL 33021
                                   cgreene@kramergreen.com
                                   Counsel for Plaintiff/Counter Defendant

                                   Adrian Neiman Arkin, Esq.
                                   Mintz Truppman, P.A.
                                   1700 Sans Souci Blvd.
                                   North Miami, FL 33181
                                   adrian@mintztruppman.com
                                   Co-Counsel for Plaintiff/Counter Defendant


                                          s/Kristina B. Pett
                                          Kristina B. Pett




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